                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION

 UNITED STATES OF AMERICA,                          )
                      Plaintiff,                    )
                                                    )
 vs.                                                )       CASE NO. DNCW112CR000020-1
                                                    )       (Financial Litigation Unit)
                                                    )
 AVERY TED "BUCK" CASHION, III,                     )
                      Defendant,                    )
 and                                                )
                                                    )
 DEFENSE FINANCE AND ACCOUNTING                     )
 SERVICES,                                          )
                      Garnishee.


                           WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:            Defense Finance And Accounting Services
                         Attn: Garnishment Operations
                         P.O. Box 998002
                         Cleveland, OH 44199

         A Consent Application for a Writ of Garnishment against property of Avery Ted "Buck"

Cashion, III, Defendant, has been filed with this Court (Docket No. 466). A judgment has been

entered against Defendant (Docket No. 395).          The US Clerk of Court current total is

$12,902,949.05, computed through January 26, 2016, and is due and owing.

         You, as Garnishee, are required by law to answer in writing, under oath, within ten (10)

days of service of this Writ, whether or not you have in your custody, control or possession, any

property, or funds owned by or owed to Defendant, including non-exempt, disposable earnings

and/or retirement pay.

         You must withhold and retain any property in which Defendant has a substantial non-

exempt interest and for which you are or may become indebted to Defendant pending further order

of the Court. This means that you should withhold fifteen percent (15%) of Defendant's retirement


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pay which remain after all deductions required by law have been withheld and one hundred percent

of all 1099 payments. See 15 U.S.C. §1673(a).

       Please state whether or not you anticipate paying Defendant any future payments and

whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your receipt

of this Writ with the following office:

                           Clerk of the United States District Court
                                     401 West Trade Street
                               Charlotte, North Carolina 28202

       Additionally, you are required by law to serve a copy of the Answer upon Defendant at

his/her last known address:

                                  Avery Ted "Buck" Cashion, III
                                           XXXXXX
                                   XXXXXXX, XX XXXXX

       You are also required to serve a copy of the Answer upon Plaintiff at the following

address:

                                    Financial Litigation Unit
                                 United States Attorney’s Office
                                 227 West Trade St., Suite 1650
                                 Charlotte, North Carolina 28202

       Under the law, there is property which may be exempt from this Writ of Garnishment.

Property which is exempt and which is not subject to this order may be listed on the attached Claim

for Exemption form.

               Pursuant to 28 U.S.C. §3205(c)(6), if you fail to answer this Writ or withhold

property or funds in accordance with this Writ, the United States of America may petition the

Court for an order requiring you to appear before the Court to answer the Writ and to withhold

property before the appearance date. If you fail to appear, or do appear and fail to show good

cause why you failed to comply with this Writ, the Court shall enter a judgment against you for

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the value of Defendant’s non-exempt interest in such property. The Court may award a reasonable

attorney's fee to the United States and against you if the Writ is not answered within the time

specified. It is unlawful to pay or deliver to Defendant any item attached by this Writ.




                                             Signed: January 26, 2016




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                      CLAIM FOR EXEMPTION FORM
           MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. § 3613)

_____1.      Wearing apparel and school books.--Such items of wearing apparel and such school
             books as are necessary for the debtor or for members of his family.

_____2.      Fuel, provisions, furniture, and personal effects.--So much of the fuel, provisions,
             furniture, and personal effects in the Debtor's household, and of the arms for
             personal use, livestock, and poultry of the debtor, as does not exceed $9,080 in
             value.

_____3.      Books and tools of a trade, business, or profession.--So many of the books, and
             tools necessary for the trade, business, or profession of the debtor as do not exceed
             in the aggregate $4,540 in value.

_____4.      Unemployment benefits.--Any amount payable to an individual with respect to his
             unemployment (including any portion thereof payable with respect to dependents)
             under an unemployment compensation law of the United States, of any State, or of
             the District of Columbia or of the Commonwealth of Puerto Rico.

_____5.      Undelivered mail.--Mail, addressed to any person, which has not been delivered to
             the addressee.

_____6.      Certain annuity and pension payments.--Annuity or pension payments under the
             Railroad Retirement Act, benefits under the Railroad Unemployment Insurance
             Act, special pension payments received by a person whose name has been entered
             on the Army, Navy, Air Force, and Coast Guard Medal of Honor roll (38 U.S.C.
             1562), and annuities based on retired or retainer pay under Chapter 73 of Title 10
             of United States Code.

_____7.      Workmen's Compensation.--Any amount payable with respect to compensation
             (including any portion thereof payable with respect to dependents) under a
             workmen's compensation law of the United States, any State, the District of
             Columbia, or the Commonwealth of Puerto Rico.

_____8.      Judgments for support of minor children.--If the debtor is required by judgment of
             a court of competent jurisdiction, entered prior to the date of levy, to contribute to
             the support of his minor children, so much of his salary, wages, or other income as
             is necessary to comply with such judgment.

_____9.      Certain service-connected disability payments.-- Any amount payable to an
             individual as a service-connected (within the meaning of section 101(16) of Title
             38, United States Code) disability benefit under--(A) subchapter II, III,IV, V, or VI
             of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35,37, or 39 of
             such Title 38.

_____10.     Assistance under Job Training Partnership Act.
             --Any amount payable to a participant under the Job Training Partnership Act (29
             U.S.C. 1501 et seq.) from funds appropriated pursuant to such Act.


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